Case 2:04-cr-20274-.]PI\/| Document 50 Filed 06/24/05 Page 1 of 5 PagelD 64
UN|TED STATES D|STRICT COURT u£c/
WESTERN D|STR|CT OF TENNESSEE 1 ~`f' in _ .i.~'
MEMPH|S D|V|S|ON

UN|TED STATES OF AMER|CA

 

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_V_ 2:04cR20274-01-Mi \,;i_`.§§_ té;;¢`fri` ' ii;iTs'

, :¢...mr“‘

JUAN MASHUN MACKLIN
Randa|l P. Sal|<yl Retained
Defense Attorney
266 South Front Street
Memphis, TN 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on February 4, 2005.
Accordingiy, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & section M_S_e Offense Number(s)
Concluded
21 U.S.C. 841(3)(1) Unlawfu| Possession of Cocaine With 06/10/2004 1

intent to Distribute

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996.

Count 2 is dismissed on the motion of the United States.
lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district

Within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed bythisjudgment are fully paid.

Defendant’s Soc. Sec. No. 412-13~2715 Date of imposition of Sentence:
Defendant’s Date of Birth: 09/30/ 1969 June 9, 2005
Deft's U.S. lVlarsha| No.: 19736-076

Defendant’s i\/lai|ing Address:
5886 Jardin Street
i\/lemphis, TN 38141

§ § \
_ '\
JON PH|PPS MCCALLA
U iTED TATES D|STR|CT JUDGE
mead °" me dock@ June 2\{ , 2005

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ThiS document enf
With RU|'G 55 and/0

Case 2:04-cr-20274-.]P|\/| Document 50 Filed 06/24/05 Page 2 of 5 PagelD 65

Case No; 2:04CR20274-01-Ml Defendant Name: Juan lVlashun lVlACKL|N Page 2 of 4
|MPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 46 Months (or 3 Years and 10 l\/lonths)

The Court recommends to the Bureau of Prisons: the defendant be incarcerated
at Federal Prison Camp in l\/|illington, TN.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States iVlarshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES i\/|ARSHAL
By:

 

Deputy U.S. l\/larshai

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Case No: 2:04CR20274-01-Nll Defendant Name: Juan Mashun MACKL|N Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit anotherfederal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply With the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicia| district without the permission ofthe court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly ata lawfut occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any parapherna!ia related to such
substances, except as prescribed by a physicianl and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed or administered;

B. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

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Case No: 2:04CR20274-01-Nl| Defendant Name: Juan lVlashun MACKL|N Page 4 of 4
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a speciai agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officerl the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADDIT|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply With the following additional conditions of supervised
release:

1. The defendant sha|i submit to drug testing and drug treatment programs as directed by the
Probation Office.

2. The defendant shall seek and maintain full-time employmentl

3. The defendant shall cooperate with DNA collection as directed by the Probation Office.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date ofjudgment, pursuant to 18 U.S.C. §
3612(f). Al| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00

The Special Assessment shall be due immediately.

FlNE
No fine imposed.

RESTITUT|ON
No Restitution was ordered.

 
 

UNITED sTATE DRISTIC COURT - WESTERN DSRTCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
case 2:04-CR-20274 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

Randall P. Salky

LAW OFFICE OF RANDALL SALKY
266 S. Front St.

Memphis7 TN 38103

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

